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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


PLAINTIFFS’ OPPOSED MOTION TO STRIKE THE EXPERT SUR-REPLY REPORT
                      OF RENÉ M. STULZ, PH.D.




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          Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar K.

Rao (collectively, “Plaintiffs”) respectfully move to strike the Expert Sur-Reply Report of René M.

Stulz, Ph.D. (the “Stulz Sur-Reply Report”) or, in the alternative, for permission to file a responsive

report by Dr. Steven Feinstein. ECF 227-1, 228-1.

I.        INTRODUCTION

          On September 19, 2024, Magistrate Judge Hightower granted Defendants1 leave to file a sur-

reply in support of their opposition to Plaintiffs’ motion for class certification. ECF 219. The

Court’s order granting leave specifically stated that “[t]he parties should not file any new evidence.”

Id. at 3 (emphasis in original). On October 4, 2024, Defendants violated that order, submitting a

new expert report with their Sur-Reply. See ECF 227-1. Defendants acknowledged as much, noting

that the order “instructed that Defendants’ surreply not introduce ‘any new evidence.’” ECF 227

at 21. Nevertheless, Defendants boldly attempted to circumvent the Court’s instruction by simply

attaching the Stulz Sur-Reply Report to their Sur-Reply, rather than citing from it directly, and then

claiming that Defendants’ submission was somehow “[c]onsistent” with the Court’s directive that no

new evidence be filed. Id.

          Because it violates the Court’s order, the Stulz Sur-Reply Report should be stricken from the

record.2 Or, in the alternative, Plaintiffs should be permitted to submit a responsive expert report of

their own in the form of the sur-reply rebuttal report of Dr. Steven Feinstein attached as Exhibit A

hereto.




1
   “Defendants” refers to Cassava Sciences, Inc. (“Cassava”) together with the “Individual
Defendants”: Cassava’s former CEO, Remi Barbier; CFO, Eric Schoen; and former Senior Vice
President of Neuroscience, Lindsay Burns.
2
   Pursuant to L.R. CV-7(g), Plaintiffs conferred with Defendants on October 16, 2024, but
Defendants would not consent to withdrawing the Stulz Sur-Reply Report.

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II.      BACKGROUND

         On March 11, 2024, the Court issued a Scheduling Order, based on the parties’ agreed-upon

recommendations, setting deadlines for class certification briefing and the exchange of related expert

reports, which permitted Plaintiffs to “serve any expert report in support of their motion” with their

class certification reply. ECF 146 at 3; ECF 96 at 3-4 (parties’ agreed-upon schedule).3 In

accordance with the Scheduling Order, Plaintiffs filed their reply in further support of class

certification on August 23, 2024, along with an expert report by Dr. Steven Feinstein. ECF 212,

209-5.

         On August 30, 2024, Defendants filed a Motion for Extension of Time to Seek Leave to File

Surreply. ECF 215. Plaintiffs filed a response to Defendants’ motion on September 6, 2024.

ECF 216. On September 19, 2024, the Court permitted Defendants to file a 20-page sur-reply by

October 4, 2024, and Plaintiffs to file a 10-page response by October 15, 2024 and ordered that

“[t]he parties should not file any new evidence.” ECF 219 at 3 (emphasis in original).

         Despite the Court’s order, Defendants’ October 4th Sur-Reply attached 40 pages of new

evidence in the form of the Stulz Sur-Reply Report included with Defendants’ request for an

evidentiary hearing appended to the Sur-Reply. ECF 227-1. In their Sur-Reply, Defendants claimed

that “[c]onsistent with the Court’s order dated September 19, 2024, which instructed that

Defendants’ Surreply not introduce ‘any new evidence,’ Defendants [did] not cite[] [the Stulz Sur-

Reply Report] or [Plaintiffs’ expert’s] deposition transcript in their [Sur-Reply].” ECF 227 at 21.

Defendants’ filing of the Stulz Sur-Reply Report, however, is in defiance of the Court’s order that

“[t]he parties should not file any new evidence.” ECF 219 at 3. After receiving a deficiency notice



3
   Defendants later received an extension for their opposition and page limits (with Plaintiffs’ reply
deadline and page-limits also extended correspondingly), however, the Court did not alter any other
aspect of the class certification briefing schedule at that time. See ECF 181, 213.

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from the Court, Defendants than re-filed their Stulz Sur-Reply Report on October 7, 2024, along

with their evidentiary hearing request. ECF 228, 228-1.4

III.      LEGAL STANDARD

          Testifying experts must disclose a complete statement of all opinions “at the times and in the

sequence that the court orders.” Fed. R. Civ. P. 26(a)(2)(D). “When ‘a movant has injected new

evidentiary materials in a reply without affording the nonmovant an opportunity for further

response,’ the court may in its discretion decline to consider them.” BHI Energy I Power Servs.,

LLC v. KVP Energy Servs., LLC, 2023 WL 223179, at *3 (N.D. Tex. Jan. 17, 2023) (striking new

reply evidence).5 Courts routinely decline to consider evidence that is filed for the first time in a

reply brief. De Boulle Diamond & Jewelry, Inc. v. Boulle, Ltd., 2016 WL 5870843, at *1 n.* (N.D.

Tex. Oct. 6, 2016) (declining to consider “new evidence [that] was filed without leave of court”);

Digit. Generation, Inc. v. Boring, 869 F. Supp. 2d 761, 771 (N.D. Tex. 2012) (same).

          Additionally, district courts in the Fifth Circuit enjoy “broad discretion in controlling [their]

own docket.” Teal v. Eagle Fleet, Inc., 933 F.2d 341, 346 (5th Cir. 1991). This broad discretion

applies to sur-replies, which the Fifth Circuit has repeatedly held “‘are heavily disfavored by

courts.’” Warrior Energy Servs. Corp. v. ATP Titan M/V, 551 F. App’x 749, 751 n.2 (5th Cir. 2014).

          Here, the Court should exercise its discretion and strike Defendants’ new evidence submitted

for the first time in their Sur-Reply and again in their evidentiary hearing request. Or, in the

alternative, the Court should grant Plaintiffs leave to file their own responsive expert report.




4
  Plaintiffs filed a response to Defendants’ evidentiary hearing request on October 14, 2024.
ECF 229.
5
       Citations are omitted and emphasis is added throughout unless otherwise indicated.

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IV.      THE COURT SHOULD STRIKE THE STULZ SUR-REPLY REPORT
         BECAUSE IT VIOLATES THE COURT’S SEPTEMBER 19, 2024 ORDER

         The Stulz Sur-Reply Report must be stricken because it defies a Court order. In granting

Defendants the opportunity to file a sur-reply and setting an accompanying briefing schedule, the

Court was clear: “[t]he parties should not file any new evidence.” ECF 219 at 3 (emphasis in

original). Defendants directly acknowledged the Court’s requirement in their Sur-Reply. See

ECF 227 at 21 (“Consistent with the Court’s order dated September 19, 2024, which instructed that

Defendants’ surreply not introduce ‘any new evidence,’ . . . .”). Nevertheless, Defendants filed their

Stulz Sur-Reply Report – 40 pages of impermissible new evidence. Defendants should not be

permitted to violate a Court order, especially when the Court provided that Plaintiffs, and their

expert, should have the last word on Plaintiffs’ class certification motion. See ECF 219 (allowing

plaintiffs to file a response to Defendants’ Sur-Reply, but disallowing the submission of further

evidence after Plaintiffs’ expert’s rebuttal report).

         While Dr. Feinstein’s rebuttal report, submitted with Plaintiffs’ reply in support of their

motion for class certification, was directly contemplated and permitted by the Court’s Scheduling

Order (ECF 146), and agreed-to by the parties (ECF 96 at 3-4), the Stulz Sur-Reply Report was

expressly prohibited. ECF 219. And unless the Stulz Sur-Reply Report is stricken, or Plaintiffs’

expert is given the opportunity to respond, Plaintiffs will be prejudiced by Defendants’ defiance. For

example, the Stulz Sur-Reply Report includes 40 pages of new opinions and lists 18 new sources of

materials considered that were not cited in any of the previous expert reports submitted in this case,

including ten new academic articles, four new Seeking Alpha articles, and one new analyst report,

book, data source, and legal document. See ECF 227-1, Appendix B. Plaintiffs and their expert

were not afforded an opportunity to consider or respond to this information, or test it in a deposition,

and Defendants’ actions fly in the face of the Court’s September 19, 2024 Order directing the parties

to “not file any new evidence.” ECF 219 at 3 (emphasis in original).
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         The lone case Defendants cite to support their suggestion that they should be allowed to

violate an express court order grants them no such permission. Defendants cite Anadarko for the

notion that a district court abuses “its discretion by denying motion for leave to file surreply and

accompanying expert report.” ECF 227 at 21; Ga. Firefighters’ Pension Fund v. Anadarko

Petroleum Corp., 99 F.4th 770, 773 (5th Cir. 2024). However, the Anadarko opinion makes no

mention of requiring an accompanying expert report to be filed with the defendants’ sur-reply.

Anadarko, 99 F.4th at 774 (“The district court therefore abused its discretion by denying Anadarko

leave to file a sur-reply.”). The opinion merely directed the district court to grant Anadarko leave to

file a sur-reply, id., which is exactly what this Court already allowed. ECF 219.

         Class certification briefing has already been extended by months at Defendants’ request to

include a sur-reply and sur-response briefing. Defendants should not be permitted to continue to file

new submissions, to which Plaintiffs must fairly respond, and thereby further delay class

certification proceedings, especially when this Court has already prohibited them from doing so.

V.       CONCLUSION

         For these reasons, Plaintiffs respectfully request that the Court strike the Stulz Sur-Reply

Report or, in the alternative, grant Plaintiffs leave to file a responsive expert report in the form of

Exhibit A attached hereto.

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                                                                /s/ Kevin A. Lavelle
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